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Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 2 of 15 PageID #:961
Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 3 of 15 PageID #:962
Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 4 of 15 PageID #:963
Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 5 of 15 PageID #:964
Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 6 of 15 PageID #:965
Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 7 of 15 PageID #:966
Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 8 of 15 PageID #:967
Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 9 of 15 PageID #:968
Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 10 of 15 PageID #:969
Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 11 of 15 PageID #:970
Case: 1:98-cr-00923 Document #: 804 Filed: 02/03/03 Page 12 of 15 PageID #:971
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